335 F.3d 858
    XU MING LI; Xin Kui Yu, Petitioners,v.John ASHCROFT,* Attorney General, Respondent.
    No. 00-70157.
    No. Ajn-ooz-ute.
    No. Awl-ilk-yjf.
    United States Court of Appeals, Ninth Circuit.
    July 7, 2003.
    
      ORDER
      SCHROEDER, Chief Judge.
    
    
      1
      Upon the vote of a majority of nonrecused regular active judges of this court, it is ordered that this case be reheard by the en banc court pursuant to Circuit Rule 35-3. The three-judge panel opinion shall not be cited as precedent by or to this court or any district court of the Ninth Circuit, except to the extent adopted by the en banc court.
    
    
      
        Notes:
      
      
        *
         John Ashcroft is substituted for his predecessor, Janet Reno, as Attorney General of the United States, Fed.R.App.P. 43(c)(2)
      
    
    